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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 CROSS OIL REFINING & MARKETING,
 INC.,

                        Plaintiff,
                                                         Civil Action No. 21-cv-1825
                v.                                       Hon. Judge Chutkan

 MICHAEL S. REGAN,

                        Defendant.


                                      [PROPOSED] ORDER

       Upon consideration of the parties’ joint motion for a stay, the motion is hereby

GRANTED. This action is stayed pending the parties’ settlement discussions. By no later than

December 16, 2021, the parties shall file a joint report to the Court advising it of the status of the

settlement discussions and to propose a schedule for the continuation of the litigation or to

request an extension of the stay.


IT IS SO ORDERED



                                                               ______________________
                                                               Judge Tanya C. Chutkan
                                                               United States District Court
